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                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF DELAWARE


                                                             Chapter 11
In re:
                                                             Case No.: 19-11466 (KG)
CENTER CITY HEALTHCARE, LLC d/b/a
HAHNEMANN UNIVERSITY HOSPITAL,                               (Jointly Administered)
et al.,1
                                                             Objections Due: January 13, 2020 at 4:00 p.m. ET
                                  Debtors.                   Hearing: January 23, 2020 at 10:00 a.m. ET




NOTICE OF QUARTERLY APPLICATION OF SILLS CUMMIS & GROSS P.C.
FOR ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED AND
   REIMBURSEMENT OF EXPENSES AS COUNSEL TO THE OFFICIAL
  COMMITTEE OF UNSECURED CREDITORS, FOR THE PERIOD FROM
           JULY 15, 2019 THROUGH SEPTEMBER 30, 2019

         PLEASE TAKE NOTICE THAT on December 24, 2019, Sills Cummis & Gross

P.C. (“Sills”), as counsel to the Official Committee of Unsecured Creditors (the

“Committee”) of the above-captioned debtors and debtors-in-possession (the “Debtors”),

filed the First Quarterly Fee Application of Sills Cummis & Gross P.C. for Allowance of

Compensation for Services Rendered and Reimbursement of Expenses as Counsel to the

Official Committee of Unsecured Creditors, for the Period from July 15, 2019 through

September 30, 2019 (the “Application”).




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  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St.
Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of
PA, L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care
Center, L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast
Pediatrics, L.L.C. (4056), TPS of PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C.
(5536), TPS IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C. (5540). The Debtors’ mailing address is
230 North Broad Street, Philadelphia, Pennsylvania 19102.




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       PLEASE TAKE FURTHER NOTICE THAT, pursuant to the Court’s Order

Establishing Procedures for Interim Compensation and Reimbursement of Expenses of

Professionals, entered August 2, 2019 [D.I. 341] (the “Interim Compensation Order”),

objections, if any, to the Application must be filed with the Clerk of the United States

Bankruptcy Court for the District of Delaware, 824 North Market Street, Wilmington, DE

19801, and filed by no later than January 13, 2020 at 4:00 p.m. (prevailing Eastern

time) (the “Objection Deadline”) and served on following parties: (a) the Debtors, Center

City Healthcare, LLC, 230 North Broad Street, Philadelphia, PA 19102 (Attn: Allen

Wilen, CRO); (b) Counsel to the Debtors, Saul Ewing Arnstein & Lehr LLP, 1201 North

Market Street, Suite 2300, Wilmington, DE 19801 (Attn: Mark Minuti, Esq. and

Monique B. DiSabatino, Esq.) and 1500 Market Street, 38th Floor, Philadelphia, PA

19102 (Attn: Jeffrey Hampton, Esq. and Adam H. Isenberg, Esq.); (c) Counsel to the

Committee, Sills Cummis & Gross P.C., The Legal Center, One Riverfront Plaza,

Newark, NJ 07102 (Attn: Andrew H. Sherman, Esq. and Boris I. Mankovertskiy, Esq.)

and Fox Rothschild LLP, 919 N. Market Street, Suite 300, Wilmington, DE 19899-2323

(Attn: Thomas M. Horan); (d) the Office of the United States Trustee, District of

Delaware, 844 N. King Street, Suite 2207, Lockbox 35, Wilmington, DE 19801 (Attn:

Benjamin A. Hackman, Esq.); and (e) Counsel to the DIP Agent, Stradley, Ronon,

Stevens, & Young, LLP, 2005 Market Street, Suite 2600, Philadelphia, PA 19103 (Attn:

Gretchen M. Santamour, Esq.) and 1000 N. West Street, Suite 1279, Wilmington, DE

19801 (Attn: Joelle E. Polesky, Esq.).




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       IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE,

THE COURT MAY GRANT THE RELIEF BY THIS APPLICATION WITHOUT

FURTHER NOTICE OR HEARING.



                            [Signature page follows.]



 Dated: December 24, 2019               FOX ROTHSCHILD LLP

                                        /s/ Thomas M. Horan
                                        Thomas M. Horan (DE No. 4641)
                                        919 North Market Street, Suite 300
                                        Wilmington, DE 19899-2323
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                                        Counsel to the Official Committee of
                                        Unsecured Creditors




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